                     IN THE UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF NORTH CAROLINA

SAMUEL SHAW,                                                     1:18CV557
       Plaintiff,
       v.                                          ORDER GRANTING PLAINTIFF’S
                                                  CONSENT MOTION FOR LEAVE TO
ELON UNIVERSITY,
                                                       AMEND COMPLAINT
       Defendant.

       This matter is before the Court on Plaintiff’s Motion pursuant to Rule 15(a)(2) of

the Federal Rules of Civil Procedure for leave to allow Plaintiff to file an Amended

Complaint. Defendant consents to the request, and the Court finds good cause to allow the

motion. In addition, Defendant has filed a Motion for Extension of Time to Answer, which

the Court will also allow.

       IT IS ORDERED that Plaintiff’s Motion to Amend [Doc. #11] is GRANTED, and

Plaintiff is given leave to file the Amended Complaint that was attached as Exhibit A to

Plaintiff’s Motion within five (5) days of the entry of this Order.

       IT IS FURTHER ORDERED that Defendant’s Motion for Extension of Time [Doc.

#12] is GRANTED, and Defendant is given 14 days from the filing of the Amended

Complaint to respond to it.

       This the 14th day of September, 2018.

                                                      /s/ Joi Elizabeth Peake
                                                   United States Magistrate Judge




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